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                                                                  IN CLERKS OFFICE
                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS!) JUN"-5 PH 3:36

UNITED STATES OF AMERICA
                                                    Criminal No.".3.
                                                                 ,1DISTRICT COURT
       V.

                                                    Violations:       Wnoi^l
                                                                      \ LC/' lUI
INSYS THERAPEUTICS, INC.,
INSYS PHARMA, INC.,                                 Counts One-Five: Mail Fraud
                                                    (18U.S.C. §§ 1341)

       Defendants                                   Forfeiture Allegation:
                                                    (18 U.S.C. § 981(a)(1)(C) and
                                                    28 U.S.C. § 2461(c))

                                        INFORMATION


                                       General Allegations


       At all times relevant to this Information:


       1.       Defendants Insys Therapeutics, Inc. and Insys Pharma, Inc. (collectively,

"Defendants") are both Delaware corporations that maintain a principal place of business in

Chandler, Arizona. At all times relevant to the Information, Insys Pharma, Inc. was a wholly-

owned subsidiary of Insys Therapeutics, Inc., and was its main operating subsidiary.

       2.       Defendants developed and own a drug called SUBSYS® (hereafter "Subsys"), a

spray formulation of fentanyl to be applied iinder a patient's tongue (also called a sublingual

spray). Fentanyl, a Schedule II controlled substance, and analogues of fentanyl were among the

most potent opioids available for human use. The United States Food and Drug Administration

("FDA") approved Subsys in or about January 2012 for the management of breakthrough pain in

cancer patients 18 years of age or older who were already receiving and were tolerant to opioid

therapy for their underlying persistent cancer pain. Subsys is in a category of drugs called

Transmucosal Immediate Release Fentanyl ("TIRF") products, which includes other fentanyl-

based rapid onset opioids that competed with Subsys.
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